Case 1:19-cv-02381-LTB-MEH Document 183 Filed 11/06/20 USDC Colorado Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 19-cv-2381-LTB-MEH

  WALTER CHARNOFF

                       Plaintiff,

                v.

  NANCY LOVING, d/b/a ARTSUITE NY,
  ARTPORT LLC,
  STUDIO 41, LLC,
  ALICIA ST. PIERRE,
  MARTIN ST. PIERRE,
  ISP HOLDINGS, INC., and
  DAVID HINKELMAN

                       Defendants.


                     DEFENDANTS’ ITEMIZATION OF FEES AND COSTS


         Defendants Nancy Loving, d/b/a ArtSuite NY, Artport LLC, Studio 41 LLC, and

  David Hinkelman (“Defendants”), through counsel, submit the following itemization of

  reasonable fees and costs totaling $4,747.00 pursuant to the Courts Order [DOC 161]:

         (1) Court Reporter Fee, Late Cancellation: $150.00. Attached as Exhibit A.

         (2) Attorneys’ Fees preparing for Mrs. Charnoff’s deposition: $4,597.00. Attached

            as Exhibit B.

  In an effort to be reasonable, the undersigned significantly reduced fees due to other

  activity billed during the same time entry as time billed to prepare for Brande Charnoff’s

  deposition. Given the reductions, Defendants submit that further reductions are not

  warranted nor reasonable:
Case 1:19-cv-02381-LTB-MEH Document 183 Filed 11/06/20 USDC Colorado Page 2 of 3




  9/15/2020: 0.3 of 0.5 charged (reduced for including other activity in time entry)
  9/16/2020: 0.0 out of 0.1 charged (both Charnoffs notices, no charge)
  9/21/2020: 1.4 of 2.40 charged (reduced 60% for Mr. Charnoff’s depo prep)
  9/23/2020: 1.7 out of 1.7 charged (Vanya) research regarding marital privilege for
             deposition objections
  9/23/2020: 4.0 out of 4.0 charged
  9/24/2020: 0.0 out of 2.0 charged (did not include any time because billed to
             “Charnoffs” deposition preparation, no charge)
  9/27/2020: 1.0 out of 2.1 charged (reduced 50% for same reason above)
  9/30/2020: 1.0 out of 3.9 charged (Vanya) (reduced 75% for other activity)
  9/30/2020: 3.4 charged

  Dated: November 6, 2020.

                                          Shoemaker Ghiselli + Schwartz LLC


                                          /s/ Liza Getches
                                          Elizabeth H. Getches
                                          SHOEMAKER GHISELLI + SCHWARTZ LLC
                                          1811 Pearl Street
                                          Boulder, CO 80302
                                          Telephone: (303) 530-3452
                                          FAX: (303) 530-4071
                                          Email: lgetches@sgslitigation.com
                                          Attorney for Defendant




                                             2
Case 1:19-cv-02381-LTB-MEH Document 183 Filed 11/06/20 USDC Colorado Page 3 of 3




                             CERTIFICATE OF SERVICE

         I hereby certify that on November 6, 2020 a true and accurate copy of the
  foregoing DEFENDANTS’ ITEMIZATION OF FEES AND COSTS was filed and served
  via CM/ECF on all parties of record in this matter.


                                       s/ Sarah B. Lee




                                          3
